Notice: This opinion is subject to formal revision before publication in the Atlantic
and Maryland Reporters. Users are requested to notify the Clerk of the Court of
any formal errors so that corrections may be made before the bound volumes go
to press.

             DISTRICT OF COLUMBIA COURT OF APPEALS

                                 No. 22-CV-0595

                         FRENNIEJO D. NIXON, APPELLANT,

                                         v.

                      GIOVANNI IPPOLITO, et al., APPELLEES.

                       Appeal from the Superior Court of the
                               District of Columbia
                              (2021-CA-001757-V)

                      (Hon. Hiram E. Puig-Lugo, Trial Judge)

(Argued December 6, 2023                                 Decided August 22, 2024)

      Shaketta A. Denson, with whom Michael D. Reiter was on the brief, for
appellant.

       Diana Kobrin was on the brief and argued the case for appellee Gustave K.
Etile. After argument, Yosef Kuperman was substituted as counsel.

      Michael J. Carita for appellee National General Assurance Company.

      Jack D. Lapidus was on the brief and argued the case for appellee Geico
Casualty Insurance Company. After argument, James M. Brault was substituted as
counsel.

     Alane Tempchin, with whom Anne K. Howard was on the brief, for appellee
Abron Deer.

      Jennifer L. Servary for appellee Giovanni Ippolito.
                                         2

      Tyrese White, pro se.

      Donnita Bennett, pro se.

      Before EASTERLY, HOWARD, and SHANKER, Associate Judges. *

      SHANKER, Associate Judge: In 2018, appellant Frenniejo Nixon was riding as

a passenger in a car driven by appellee Gustave Etile when their car was struck from

behind in a multiple-vehicle collision. The four cars involved were traveling in the

same lane on Interstate 295, with Mr. Etile leading the line. The cars behind

Mr. Etile were driven by, in the following order, appellees Tyrese White, Abron

Deer, and Giovanni Ippolito. Ms. Nixon sought to recover damages for personal

injuries from the accident and filed a negligence claim against Messrs. Etile, Deer,

and Ippolito, and a breach-of-contract claim against Geico and National General

Assurance for uninsured motorist benefits on account of Mr. White’s negligence.

The trial court granted summary judgment for the defendants against Ms. Nixon,

concluding that Ms. Nixon’s interpretations of the evidence were too speculative as

a matter of law to support a determination that Messrs. Etile, Deer, White, and

Ippolito were negligent. We affirm in part and reverse in part.




      *
        Associate Judge AliKhan was originally assigned to this case. Following
Judge AliKhan’s appointment to the U.S. District Court for the District of Columbia,
effective December 12, 2023, Judge Easterly has been assigned to take her place on
the panel.
                                           3

                                 I.      Background


                            A.        Factual Background


      The following facts are derived from the trial court’s order or appear to be

undisputed. 1 On the evening of July 4, 2018, a four-car chain of collisions occurred

on Interstate 295. The drivers involved were traveling in the same lane in the

following order: (1) Mr. Etile, (2) Mr. White, (3) Mr. Deer, and (4) Mr. Ippolito.


      Mr. Etile had been driving, with Ms. Nixon in the passenger seat, toward

Washington, D.C., to watch the Independence Day fireworks at the National Mall.

A car in an adjacent lane abruptly cut in front of Mr. Etile, prompting Mr. Etile to

begin braking. In response to Mr. Etile’s deceleration, Mr. White began braking.

Mr. Deer saw Mr. White’s brake lights turn on but failed to stop his car in time and

consequently rear-ended Mr. White.          After Mr. Deer rear-ended Mr. White,

Mr. Ippolito immediately rear-ended Mr. Deer.         Ms. Nixon had no personal

knowledge as to the order or number of collisions behind her but felt one impact to




      1
        The trial court did not specifically identify the undisputed facts on which it
relied when granting summary judgment. The appellate record, however, is
sufficiently developed for our review and we proceed with our independent
assessment of the record, see infra Part III.
                                          4

the rear of the car she was in (presumably from Mr. White’s car, although Mr. White

disputes that), which resulted in her alleged injury.


                             B.     Procedural History


      In 2021, Ms. Nixon filed a negligence action against Messrs. Etile, Deer, and

Ippolito. 2 She did not file an action against Mr. White, who was uninsured at the

time. Instead, Ms. Nixon included a breach-of-contract claim against Geico and

National General, claiming that they failed to provide her benefits under her

uninsured motorist coverage policy for losses she suffered because of Mr. White’s

negligence. 3


      Messrs. Etile, Deer, and Ippolito moved for summary judgment pursuant to

Super. Ct. Civ. R. 56, each arguing that Ms. Nixon failed to establish proximate

cause. Geico also moved for summary judgment, arguing that because the record



      2
         In the same complaint, Ms. Nixon filed a claim against Anna Chayka for
negligently entrusting Mr. Ippolito to drive her vehicle. We dismissed Ms. Chayka
as an appellee after Ms. Nixon “failed to raise any error as to her dismissal by the
trial court.” Nixon v. Ippolito, No. 22-CV-0595 (D.C. Jan. 13, 2023) (order).
      3
         Geico, in accordance with Super. Ct. Civ. R. 14, brought a third-party
complaint against Mr. White, asserting that if Ms. Nixon recovered uninsured
motorist benefits from Geico due to the negligence of Mr. White, then Geico was
entitled to compensation from him for any benefits that Geico was required to pay.
Geico filed the same claim against the owner of the car that Mr. White drove,
appellee Donnita Bennett. Mr. White and Ms. Bennett did not submit a brief in this
court.
                                          5

did not support an inference that Mr. White was driving negligently, Ms. Nixon’s

uninsured motorist claim against Geico failed as a matter of law. National General

filed in support of Geico’s motion, stating that if the trial court dismissed the claim

against Geico, it would have to dismiss Ms. Nixon’s claim against National General

on the same ground.


      Ms. Nixon opposed, arguing that disputed issues of material fact resulting

from conflicting deposition testimony concerning how many impacts occurred and

in what order precluded summary judgment.


      In a written order, the trial court granted each summary judgment motion. 4

The court stated that Ms. Nixon’s inability to “point to any specific evidence of

responsibility” and lack of “personal knowledge as to the order of impacts that

occurred behind her” meant that she could not prevail as a matter of law. The court

noted that Ms. Nixon “only provided speculative testimony of the possibility of

number and order of impacts” leading to her injury and determined that this

testimony “provide[s] no information at all about who may or may not have been

negligent.” Thus, the trial court ruled that Ms. Nixon failed to demonstrate genuine

disputes of material fact regarding her negligence claims against Messrs. Etile, Deer,



      4
        Mr. Ippolito and Ms. Nixon requested a hearing, but the trial court decided
the motions on the briefs.
                                           6

and Ippolito, and granted their summary judgment motions. Finding that there was

no evidence supporting an inference of Mr. White’s negligence, the court also

granted summary judgment for Geico and National General.


      Ms. Nixon filed a motion to alter or amend the judgment under Super. Ct. Civ.

R. 59(e), arguing that the court committed an error of law in dismissing her

complaint. The court denied Ms. Nixon’s motion.


      This appeal followed.


                             II.    Standard of Review


      We review a grant of summary judgment de novo and apply the same standard

used by the trial court. Mancuso v. Chapel Valley Landscape Co., No. 22-CV-0298,

2024 WL 3448356, at *3 (D.C. July 18, 2024). “Under this standard, ‘the moving

party has the burden of demonstrating that there is no genuine issue of material fact,

after the evidence and all inferences from the evidence are drawn in favor of the non-

moving party.’” Id. (alteration omitted) (quoting Onyeoziri v. Spivok, 44 A.3d 279,

284 (D.C. 2012)). “[T]he role of this court is not to resolve factual issues as

factfinder, ‘but rather to review the record to determine if there is a genuine issue of

material fact on which a jury could find for the non-moving party.’” Id. (quoting

Holland v. Hannan, 456 A.2d 807, 814-15 (D.C. 1983)). Thus, “we will reverse the
                                         7

grant of summary judgment ‘if an impartial trier of fact, crediting the non-moving

party’s evidence, and viewing the record in the light most favorable to the

non-moving party, may reasonably find in favor of that party.’” Id. (quoting Tolu v.

Ayodeji, 945 A.2d 596, 601 (D.C. 2008)).


                                  III.   Analysis


       Ms. Nixon argues that the trial court improperly granted summary judgment

against her because (1) there are genuine disputes of material fact concerning the

collision chain and (2) several theories of causation are reasonably supported by the

record. 5


       We mostly agree. The basis for the trial court’s ruling was that Ms. Nixon

failed to establish that any driver had proximately caused her injuries, because she

could not point to any specific evidence of responsibility and did not have any

personal knowledge as to the sequence of the collisions that occurred behind her.

But the absence of such direct personal knowledge is not surprising, or dispositive,



       5
        Ms. Nixon’s opening brief mentions the trial court’s denial of her Rule 59(e)
motion to alter or amend the judgment but does not develop an argument that the
trial court erred in denying the motion. Accordingly, we do not address the issue.
See Wagner v. Georgetown Univ. Med. Ctr., 768 A.2d 546, 554 n.9 (D.C. 2001)
(“[I]ssues adverted to in a perfunctory manner, unaccompanied by some effort at
developed argumentation, are deemed waived.” (quoting United States v. Zannino,
895 F.2d 1, 16 (1st Cir. 1990)).
                                         8

in a rear-end collision and, on this record as we view it, Ms. Nixon is entitled to a

determination of the facts by a factfinder. Based on our review of the record, we

conclude that genuine issues of material fact exist concerning whether negligence

by Messrs. White, Deer, and/or Ippolito proximately caused Ms. Nixon’s injuries.

We conclude, however, that Mr. Etile did not breach his duty of care as a matter of

law; therefore, we do not reach the issue of proximate cause as to him. Accordingly,

we reverse the grant of summary judgment as to all appellees except for Mr. Etile

and remand for further proceedings.


                             A.    Legal Background


      “To establish a negligence claim in the District of Columbia, a plaintiff must

demonstrate that: (1) the defendant owed a duty of care to the plaintiff, (2) the

defendant breached that duty, and (3) the breach of duty proximately caused damage

to the plaintiff.” Mancuso v. Chapel Valley Landscape Co., No. 22-CV-0298, 2024

WL 3448356, at *3 (D.C. July 18, 2024) (internal quotation omitted).


      As a general rule, “the primary duty to avoid collision as between motorist

ahead and the motorist following lies with the motorist behind.” Pazmino v.

Washington Metro. Area Transit Auth., 638 A.2d 677, 679 (D.C. 1994) (internal

quotation omitted). This principle, however, “does not warrant a finding of liability

as a matter of law and a duty of care rests of course on both motorists.” Id. The
                                          9

driver of a following car must “exercise reasonable care to avoid injuries” and “has

a duty to keep a lookout and to observe the movements of vehicles ahead” and “shall

not follow another vehicle more closely than is reasonable and prudent.” Id. (internal

quotation omitted). To establish a prima facie case of negligence, the plaintiff must

present evidence that the following driver breached their duty to exercise reasonable

care or otherwise violated District of Columbia traffic regulations. See id. at 679-81

(noting that a motorist’s duties on the road “are reflected in the District’s traffic

regulations”).


      Our negligence cases have described proximate cause as having two

components: a cause-in-fact element and a foreseeability element. Mancuso, 2024

WL 3448356, at *3. A negligent act or omission is the cause-in-fact of harm if it

“‘is a substantial factor in bringing about the harm.’” Id. at *4 (quoting Restatement

(Second) of Torts § 431 (Am. L. Inst. 1965)); Majeska v. District of Columbia, 812

A.2d 948, 951 (D.C. 2002). Under the foreseeability element of proximate cause,

“a defendant may not be held liable for harm actually caused where the chain of

events leading to the injury appears ‘highly extraordinary in retrospect.’” Mancuso,

2024 WL 3448356, at *4 (quoting Majeska, 812 A.2d at 951).                Intervening

negligence by a third party “does not by itself make the injury unforeseeable,” and

a defendant will be liable “despite the intervention of another’s act in the chain of
                                            10

causation” if the intervening negligence “should have been reasonably anticipated

and protected against.” Majeska, 812 A.2d at 951 (internal quotations omitted).


       This court has recognized that “in the absence of . . . emergency or unusual

conditions, the following driver is negligent if he collides with the forward vehicle.”

Fisher v. Best, 661 A.2d 1095, 1099 (D.C. 1995) (internal quotation and alteration

omitted). “Where a lawfully stopped vehicle is struck by another car from the rear,

there is a rebuttable presumption that the approaching vehicle was negligently

operated.” Id. (citing Dornton v. Darby, 373 F.2d 619, 621 (5th Cir. 1967)); Warrick

v. Walker, 814 A.2d 932, 933 (D.C. 2003) (citing Fisher, 661 A.2d at 1099). Thus,

“[w]here a party proves the basic facts giving rise to a presumption [of negligence],

it will have satisfied its burden of proving evidence with regard to the presumed

fact,” and the case is then best decided by a jury. See Warrick, 814 A.2d at 934

(“Because no evidence was presented at trial that unusual circumstances caused [the

defendant] to rear-end the stationary vehicle, such as a bike rider suddenly swerving

into his path in the roadway, the trial court erred in taking the case from the jury by

directing a verdict for the [defendant] . . . .”).
                                         11

                                 B.     Discussion


                                  1.     Mr. Etile


      Ms. Nixon argues that Mr. Etile could be found negligent by a trier of fact

because the fact that Mr. Etile had to brake abruptly shows that he failed to “keep[ ]

a proper lookout and to react to the changing traffic in a way to avoid a chain

collision.” Specifically, she contends that Mr. Etile’s braking caused Mr. White to

slow down, which, in turn, caused Mr. White to be rear-ended by Mr. Deer,

ultimately suggesting that Mr. Etile’s negligence precipitated the accident. We

disagree. Even when viewed in the light most favorable to Ms. Nixon, the evidence

would not support a finding by a reasonable factfinder that Mr. Etile breached his

duty of care.


      The undisputed evidence indicates that Mr. Etile was driving at around

fifty-five miles-per-hour, keeping pace with traffic and maintaining about “two car

lengths” of distance from the car ahead, when another car, traveling faster than him

in an adjacent lane, “suddenly” cut in front of him. To avoid a collision, Mr. Etile

began braking to reduce his speed. It is disputed whether Mr. Etile’s car simply
                                         12

slowed or came to a complete stop when it was rear-ended. 6 While he was driving,

Mr. Etile was not listening to the radio and was not talking on the phone or to any of

the passengers in the car.


      As an initial matter, the fact that a chain of collisions occurred behind

Mr. Etile is not evidence of his negligence. See Evans v. Byers, 331 A.2d 138, 140

(D.C. 1975) (“It is fundamental that the mere happening of an accident . . . does not

prove negligence . . . .”); Pazmino, 638 A.2d at 679 (“[T]he primary duty to avoid

collision as between motorist ahead and the motorist following lies with the motorist

behind.” (internal quotation omitted)).       Moreover, we are unpersuaded that

Mr. Etile’s braking—in response to a car that had “suddenly” cut him off—supports

a finding of negligence when Mr. Etile had been maintaining about two car-lengths

of distance behind the car ahead, safely avoided rear-ending the car that

unexpectedly sped into his lane, and had not been (as far as the record indicates)

distracted while driving.


      Ms. Nixon correctly observes that Mr. Etile had a duty to abide by the

District’s traffic regulations and to “keep a lookout and to observe the movements


      6
        Although Mr. White maintains that he never struck Mr. Etile’s car, it is
undisputed that Mr. White was directly behind Mr. Etile in the line of traffic and was
unconscious when a car rear-ended Mr. Etile. Drawing all reasonable inferences in
favor of Ms. Nixon, the evidence supports a finding that Mr. Etile was rear-ended
by Mr. White.
                                          13

of vehicles ahead.” Pazmino, 638 A.2d at 679. Under these circumstances, however,

there is no basis to conclude that Mr. Etile was at fault for not anticipating another

driver’s hasty lane change or for rapidly decelerating. For example, there is no

testimony that the car in the adjacent lane had its signal on and that Mr. Etile failed

to observe it. Absent any evidence that Mr. Etile had to brake sharply because he

had been distracted or inattentive, his sudden braking raises no reasonable inference

of negligence. See Evans, 331 A.2d at 140 (evidence was insufficient to establish a

prima facie case of negligence where there was no evidence that defendant who

rear-ended another car “was driving at excessive speed, was inattentive to the traffic

in front of him, or doing any of the myriad things not expected of a prudent driver”);

Rahimi v. Manhattan &amp; Bronx Surface Transit Operating Auth., 43 A.D.3d 802,

803-04 (N.Y. App. Div. 2007) (holding that bus driver was not negligent where it

was uncontroverted that another car had cut in front of the bus “at a high rate of

speed” and where there was “no evidence that the bus driver created the emergency

or could have avoided a collision by taking some action other than stepping hard on

his brakes”).


      Relatedly, the dispute concerning whether Mr. Etile had braked to a complete

stop or had simply slowed down is immaterial in this case. Even if Mr. Etile stopped,

there is no evidence to support an inference that his stop was unlawful or negligent

so as to rebut the presumption that the collision occurred because of the following
                                          14

driver (Mr. White). See Fisher, 661 A.2d at 1099 (“Where a lawfully stopped

vehicle is struck by another car from the rear, there is a rebuttable presumption that

the approaching vehicle was negligently operated.” (citing Dornton, 373 F.2d at

621)); Dornton, 373 F.2d at 621 (a car is lawfully stopped when it “has stopped . . .

to avoid a collision with a car ahead”); 18 D.C.M.R. § 9901.1 (defining a prohibited

stopping as “halting a vehicle except to avoid conflict with other traffic”).


      And even if Mr. Etile’s stop was sudden, “a claim that the leading vehicle

came to a sudden stop, standing alone, is [generally] insufficient to rebut the

inference of negligence caused by the rear-end collision.” Byrne v. Calogero, 96

A.D.3d 704, 706 (N.Y. App. Div. 2012); see, e.g., Clampitt v. D.J. Spencer Sales,

786 So.2d 570, 574 (Fla. 2001) (an abrupt stop by the leading driver does not rebut

the presumption of the rear driver’s negligence unless it is “at a time and place where

it could not reasonably be expected by the following driver” (internal quotation

omitted)); Huntoon v. TCI Cablevision of Colorado, Inc., 969 P.2d 681, 687 (Colo.

1998) (en banc) (“A sudden stop may be unwarranted if the evidence suggests it was

made without reason, or in an unexpected and uncalled-for location.”). 7



      7
        Under 18 D.C.M.R. § 2206.2, a driver has a duty to not “stop or suddenly
decrease the speed of a vehicle without first giving an appropriate signal . . . to the
driver of any vehicle immediately to the rear when there is opportunity to give such
                                           15

      There is no evidence to suggest that Mr. Etile’s stop was arbitrary.

Furthermore, the evidence shows that the stop occurred “at a place and time where

it was reasonably expected”—on a highway during a holiday with, at the very least,

moderately-congested traffic. See Kao v. Lauredo, 617 So.2d 775, 777 (Fla. Dist.

Ct. App. 1993) (plaintiff’s sudden stop was reasonably expected “on a heavily

congested city street during rush hour in stop and go traffic”); Taing v. Drewery, 100

A.D.3d 740, 741 (N.Y. App. Div. 2012) (driver of leading car who was rear-ended

entitled to judgment as a matter of law because a sudden stop, without more, failed

to raise a triable issue of fact when such stops are foreseeable under prevailing traffic

conditions). Thus, Mr. Etile’s sudden stop does not rebut the presumption that the

rear driver was negligent, and there is no genuine dispute as to whether Mr. Etile

was negligent. See Hill v. Wilson, 531 N.W.2d 744, 746 (Mich. Ct. App. 1995)

(question “concerning whether [leading motorist] stopped or merely slowed” was

“of no import” where the evidence failed to support a reasonable inference that

leading motorist had been comparatively negligent).




signal.” The evidence does not establish that Mr. Etile failed to comply with this
duty: Mr. White testified that he had noticed that Mr. Etile’s car had been slowing
down and even described Mr. Etile’s deceleration as the kind one might expect in
“slow, steady traffic” during “rush hour.”
                                        16

      Accordingly, we conclude that Ms. Nixon failed to establish a prima facie

case of Mr. Etile’s negligence, and we affirm the grant of summary judgment as to

Mr. Etile.


                                 2.    Mr. White


      Ms. Nixon argues that the trial court erred in granting summary judgment for

Geico and National General—both of which may be liable to pay uninsured

motorists benefits to Ms. Nixon if Mr. White was negligent—because the facts gave

rise to a rebuttable presumption of Mr. White’s negligence. In response, Geico

contends that there is no evidence that Mr. White breached his duty of care and that

the normal presumption of negligence is inapplicable because of an “unusual

condition[ ]”—the accident was caused by Mr. Deer. Similarly, National General

argues that Mr. Deer striking Mr. White’s car from the rear broke the causal chain

between Mr. White’s negligence and Ms. Nixon’s injury and relieves Mr. White of

liability as a matter of law. We are not persuaded by the arguments set forth by

Geico and National General.


      Although Geico contended at oral argument that we need not reach the

proximate cause issue because there is no evidence that Mr. White breached a duty

of care, we disagree. Mr. White testified that, in response to the traffic ahead, he

began slowing down and left “about a feet [sic] or two” between his car and
                                         17

Mr. Etile’s car. Mr. White maintained that he left enough room between the cars,

but a jury could reasonably infer that Mr. White failed to maintain a reasonable

following distance. See 18 D.C.M.R. § 2201.9 (“The driver of a vehicle shall not

follow another vehicle more closely than is reasonable and prudent, having due

regard for the speed of the vehicles and the traffic upon and the condition of the

roadway.”).    As outlined above, there also is a rebuttable presumption of

Mr. White’s negligence because the evidence reasonably supports an inference that

Mr. White rear-ended Mr. Etile, who was lawfully stopped or slowing down. See

Fisher, 661 A.2d at 1099.


      The question remains whether Ms. Nixon failed to demonstrate proximate

cause as a matter of law. National General and Geico argue that Mr. Deer’s

negligent act broke the causal connection between Mr. White’s negligence and

Ms. Nixon’s injury. We hold that a reasonable factfinder could find both elements

of proximate cause satisfied.


      First, there is evidence in the record to support a finding that Mr. White’s

negligence was the cause-in-fact of Ms. Nixon’s injury. A factfinder could infer that

Mr. White’s failure to maintain a reasonable following distance placed his car in a

dangerous position with respect to Mr. Etile’s car and was a “substantial factor in

bringing about the harm.” Mancuso, 2024 WL 3448356, at *4 (quoting Restatement
                                         18

(Second) of Torts § 431). In other words, a reasonable factfinder could conclude

that Mr. Etile’s car would not have been rear-ended but for the insufficient space

that Mr. White left between their cars. We disagree with National General that this

inference relies on “impermissible guesswork and speculation.”


      Second, the negligence of Mr. Deer was not so unforeseeable as to cut off

Mr. White’s liability as a matter of law. National General in essence argues that the

negligence of Mr. Deer was a superseding cause. We disagree, as our case law is

clear that the intervening negligence of a third party breaks the chain of causation

only “if it is not reasonably foreseeable” or “when the sequence of events . . . is

highly extraordinary in retrospect.” McKethean v. Washington Metro. Area Transit

Auth., 588 A.2d 708, 716 (D.C. 1991) (internal quotations omitted); Mancuso, 2024

WL 3448356, at *4.


      This court has recognized superseding causes in cases when the third party’s

negligence was “too attenuated” from the defendant’s negligence and had “such a

predominant effect . . . as to make the effect of the [defendant’s] negligence

insignificant.”   See Mancuso, 2024 WL 3448356, at *4 (quoting Restatement

(Second) of Torts § 443, cmt. d.) (although contractors’ negligence created the need

to rebuild the garage, they were not involved in the reconstruction, and third party’s
                                          19

redesign, which reduced the size of plaintiffs’ parking space, prevented defendant’s

negligence from being a substantial factor).


      To determine whether the defendant’s negligence was a substantial factor in

causing the plaintiff’s injury, this court has also recognized as factors the proximity

of time and space of the initial negligence to the injury. See Sanders v. Wright, 642

A.2d 847, 849-50 (D.C. 1994) (although defendant’s negligence caused the first

collision, it was “too remote” from plaintiff’s subsequent injury, where after the

initial collision, plaintiff had moved completely off the roadway and had stood by

his car without harm for five-to-ten minutes before a different car, excessively

speeding, sped off the road and struck plaintiff).


      Here, construing the facts in the light most favorable to Ms. Nixon, a trier of

fact could find that the ongoing negligence of Mr. White—failing to maintain a

reasonable following distance—was not “too attenuated” or “too remote” to the

ultimate collision with Mr. Etile. Indeed, this case is unlike Sanders, where it was

clear that the defendant’s “initial negligence had come to rest” by the time “an

independent intervening cause”—the negligence of another driver—“had taken

dominion over the action.” Id. at 851 (internal quotation omitted).


      Accordingly, we are unconvinced that there is anything “highly

extraordinary” about collision that occurred here as to deem Mr. Deer’s negligence
                                         20

a superseding cause and absolve Mr. White of liability as a matter of law. See

Restatement (Second) § 442A (“Where the negligent conduct of the actor creates or

increases the foreseeable risk of harm through the intervention of another force, and

is a substantial factor in causing the harm, such intervention is not a superseding

cause.”). We hold, therefore, that the issue of proximate cause is more appropriate

for resolution by a trier of fact and reverse the grant of summary judgment in favor

of Geico and National General.


                                  3.     Mr. Deer


      Ms. Nixon appears to set forth two theories of negligence against Mr. Deer:

res ipsa loquitur and specific acts of negligence. Mr. Deer contends that res ipsa

loquitur is inapplicable because Ms. Nixon cannot establish the doctrine’s

exclusive-control requirement and also argues that Ms. Nixon’s negligence claim

against him fails because she cannot establish proximate cause. We hold that res

ipsa loquitur does not apply but nonetheless reverse the grant of summary judgment

because there is a genuine issue of disputed fact concerning whether Mr. Deer

proximately caused Ms. Nixon’s injury. 8



      8
       Ms. Nixon cites the doctrine of res ipsa loquitur in her arguments pertaining
to Messrs. Etile and Deer but raises a res ipsa loquitur argument against Mr. Ippolito
                                          21

                              a.     Res Ipsa Loquitur


      Res ipsa loquitur permits a jury to infer negligence from the mere occurrence

of the accident. See Evans, 331 A.2d at 140 (where no witnesses testified that

defendant was excessively speeding, inattentive, or not otherwise driving prudently,

“any inference of tortious conduct on his part would have to depend on the principle

of res ipsa loquitur”). “For that reason, it is a powerful doctrine which should be

applied with caution in a negligence action . . . .”      Jones v. NYLife Real Est.

Holdings, LLC, 252 A.3d 490, 501 (D.C. 2021) (internal quotations omitted). A

plaintiff may invoke the doctrine if the undisputed facts establish the following:

(1) the accident is of a kind that ordinarily does not occur without negligence; (2) the

instrumentality causing the injury was within the defendant’s exclusive control; and

(3) the plaintiff did not contribute to or cause the accident. Sullivan v. Snyder, 374

A.2d 866, 867-68 (D.C. 1977); see Evans, 331 A.2d at 141 (“[T]he principle of res

ipsa loquitur can be invoked only if a plaintiff’s case establishes certain

uncontroverted facts which indicate negligent conduct by a particular party.”).




only in her reply brief. “It is the longstanding policy of this court not to consider
arguments raised for the first time in a reply brief.” Stockard v. Moss, 706 A.2d 561,
566 (D.C. 1997). We also do not address the application of res ipsa loquitur as to
Mr. Etile given our conclusion that he was not negligent, see supra Part III.B.1, and
only discuss res ipsa loquitur in the context of Mr. Deer.
                                          22

      This court has long recognized that a rear-end automobile collision is a kind

of accident that is unlikely to occur without negligence, see, e.g., Sullivan, 397 A.2d

at 867-68; Andrews v. Forness, 272 A.2d 672, 674 (D.C. 1971), and it is undisputed

that Ms. Nixon did not contribute to the accident. Ms. Nixon may not invoke res

ipsa loquitur, however, because the injury-causing instrumentality (Mr. Deer’s car)

was not necessarily under Mr. Deer’s exclusive control.


      The exclusive-control requirement serves to ensure a clear connection

between the defendant and the harm suffered by the plaintiff. See Quin v. George

Washington Univ., 407 A.2d 580, 585 (D.C. 1979); 65A Corpus Juris Secundum

Negligence § 826 (“The concept of exclusive control . . . eliminate[s], within reason,

all explanations for the injurious event other than the defendant’s negligence.”).

Exclusive control does not necessarily require a showing that no one other than the

defendant interacted with the instrument or that there were no other potential causes

of the plaintiff’s injury. See Avis Rent-A-Car Sys., Inc. v. Standard Meat Co., 288

A.2d 243, 246 (D.C. 1972). The facts must demonstrate that the defendant had

“some reasonably current, if not continuous control over the instrumentality” at the

time of the injury, id., and that the plaintiff’s injury was probably caused by the

instrumentality under the defendant’s control.
                                          23

      An intervening factor, such as third-party interference or an external

condition, that contributed “more probably” to the injury prevents a finding that the

defendant had exclusive control. See District of Columbia v. Singleton, 41 A.3d 717,

723 (Md. 2012).      Because the existence of an intervening factor supplies an

alternative explanation for the plaintiff’s injury and therefore weakens the likelihood

that the accident was solely due to the defendant’s negligence, res ipsa loquitur is

inapplicable in such a case. See Rajabi v. Potomac Elec. Power Co., 650 A.2d 1319,

1323 (D.C. 1994) (“[I]ntervening causes such as weather and traffic made it

impossible for appellants to prove that the District had exclusive control over the

street lights.” (internal quotation omitted)); Marshall v. Townsend, 464 A.2d 144,

146 n.1 (D.C. 1983) (noting that a second plumbing leak was “an even less likely

candidate for treatment under res ipsa loquitur,” because intervention by a plumber

to fix a first leak “remove[d] the upstairs apartments from appellees’ exclusive

control”).


      Although it is undisputed that Mr. Deer rear-ended Mr. White first and then

Mr. Ippolito rear-ended Mr. Deer afterward, the facts reasonably support two

possible causes of Ms. Nixon’s injury—one where Mr. Deer was in exclusive

control of his vehicle and another where he was not. In the first scenario, Mr. Deer

began the chain of collisions. He rear-ended Mr. White, who then rear-ended

Mr. Etile, injuring Ms. Nixon. Mr. Ippolito may have rear-ended Mr. Deer, but this
                                         24

had no bearing on the chain of collisions that had already occurred. In the second

scenario, Mr. Deer rear-ended Mr. White but this impact did not cause Mr. White to

rear-end Mr. Etile. Instead, when Mr. Ippolito rear-ended Mr. Deer, whose car was

still in contact with Mr. White’s car, that impact from Mr. Ippolito provided enough

force to propel Mr. White’s car into Mr. Etile’s car. Thus, the undisputed facts fail

to establish that Mr. Deer necessarily had exclusive control over his car.


      Because “res ipsa loquitur can be invoked only if a plaintiff's case establishes

certain uncontroverted facts which indicate negligent conduct by a particular party,”

Evans, 331 A.2d at 141, and, here, the record supports two conflicting accounts

regarding who was negligent, we hold that Ms. Nixon may not invoke the principle

of res ipsa loquitur. See id. at 140-41 (holding that res ipsa loquitur could not be

invoked against driver of another car who collided with the car in which plaintiff

was a passenger because the evidence showed two conflicting accounts concerning

which of the two drivers was negligent); Marshall, 464 A.2d at 145 (The “plaintiff

must establish certain uncontroverted facts in support of the elements of res ipsa

loquitur.” (citing Evans, 331 A.2d at 141)).
                                          25

      Having concluded that res ipsa loquitur does not apply, 9 we turn to whether

the evidence supports finding a specific act of negligence as to Mr. Deer that

proximately caused Ms. Nixon’s injury.


      “This court permits the plaintiff in a proper case to rely upon both res ipsa

loquitur and proof of specific acts of negligence.” Quin v. George Washington

Univ., 407 A.2d 580, 582 (D.C. 1979). “[T]he introduction of some evidence which

tends to show specific acts of negligence on the part of the defendant, but which

does not purport to furnish a full and complete explanation of the occurrence . . .

does not deprive the plaintiff of the benefit of res ipsa loquitur.” Sullivan, 374 A.2d

at 867 n.1 (D.C. 1977) (quoting W. Prosser, Handbook of the Law of Torts § 40, at



      9
         There appears to be confusion among the parties about the applicability of
res ipsa loquitur when multiple defendants are involved. It is well-recognized that
the exclusive-control requirement does not always require control by a single person;
res ipsa loquitur may be invoked against multiple defendants who shared joint
control over the injury-causing instrumentality. Greet v. Otis Elevator Co., 187 A.2d
896, 898 (D.C. 1963). The concept of joint control recognizes that multiple parties
can share the duty to exercise reasonable care over the same instrumentality. See id.(res ipsa loquitur applicable against building owner and elevator company because
either or both could have had responsibility and control of the elevator at the time of
the accident). Thus, res ipsa loquitur may apply against multiple defendants, and “it
is for the jury to say whether either or both had control.” Id.       In any event, contrary to Mr. Deer’s contention, joint control is inapplicable
here. Although Messrs. Deer and Ippolito each had a duty of care, they did not share
control over the alleged injury-causing instrumentality, Mr. Deer’s car. As
explained above, Mr. Ippolito’s rear-end collision into Mr. Deer was an intervening
factor that precludes satisfaction of the exclusivity requirement. See Singleton, 41
A.3d at 724 (recognizing the negligence of another vehicle as an “intervening act”).
                                         26

232 (4th ed. 1971)). “Res ipsa loquitur becomes irrelevant only when the manner in

which the defendant was allegedly negligent is completely elucidated . . . and there

is nothing left for the jury to infer regarding the cause of the accident.” D.C. Hous.

Auth. v. Pinkney, 970 A.2d 854, 868 (D.C. 2009) (internal quotation omitted).


                         b.     Specific Act of Negligence


      Mr. Deer was driving behind Mr. White and “was attempting to maintain, at

least, a car length” of distance from the car ahead but admitted it was a “little bit

closer than that.” Seeking to change lanes, Mr. Deer “checked [his] right-hand

mirror,” and then re-focused his sights ahead when he saw that Mr. White’s brake

lights were on. Mr. Deer “slammed on [his] brakes” but could not avoid colliding

with Mr. White’s car.


      As preliminary matter, the record supports a reasonable inference that

Mr. Deer breached his duty of care. Mr. Deer’s own testimony that he was traveling

at a distance less than a car length from Mr. White’s vehicle raises a disputed issue

as to whether he had been following too closely or had failed to react to an

emergency within a reasonable time. See Pazmino, 638 A.2d at 681 (reasonable jury

could find driver of the trailing vehicle negligent because he “should have been at a

reasonable and prudent distance” behind the leading vehicle, which had been

lawfully slowing down, but failed to take “particular caution” to avoid an accident);
                                         27

Sullivan, 374 A.2d at 867 &amp; n.1 (evidence establishing that rear driver had been

traveling at thirty miles per hour and was only about seven yards away before

braking could support a finding of a specific act of negligence).


      Mr. Deer’s central argument is that Ms. Nixon failed to establish the

“cause-in-fact” component of proximate cause as to him, because no one has direct

knowledge that Mr. Deer’s rear-impact to Mr. Etile actually caused Ms. Nixon’s

injury. Mr. Deer overlooks, however, that Ms. Nixon “is not required to prove

causation to a certainty” and needs only to present sufficient evidence that

Mr. Deer’s negligence was a “substantial factor” in bringing about harm to

Ms. Nixon. See Majeska, 812 A.2d at 951.


      Viewing the evidence in the light most favorable to Ms. Nixon, we conclude

that there is record evidence to support a finding of cause-in-fact by a reasonable

factfinder. That no one has direct knowledge as to whether Mr. White rear-ended

Mr. Etile after Mr. Deer rear-ended Mr. White is not fatal to Ms. Nixon’s negligence

claim. Even though Mr. White lost consciousness after the rear-impact and denies

ever striking Mr. Etile’s car, because Mr. White’s car was only one or two feet away

from Mr. Etile’s car, a reasonable factfinder could conclude that Mr. Deer’s

rear-ending of Mr. White caused Mr. White to rear-end Mr. Etile. Alternatively,

even if Mr. Deer’s initial rear-end impact to Mr. White’s car did not precipitate
                                          28

Ms. Nixon’s injury and it was Mr. Ippolito’s rear-end impact that provided the

additional force necessary to push the cars forward and cause the ultimate impact

injuring Ms. Nixon, we think that a reasonable factfinder could find that Mr. Deer’s

negligence was still a substantial factor in causing the accident.


         Thus, there is a disputed issue as to whether the one impact that Ms. Nixon

felt was caused by Mr. Deer, and we reverse the grant of summary judgment in his

favor.


                                  4.    Mr. Ippolito


         At oral argument, Mr. Ippolito conceded that he breached a duty of care, but

he argues, similarly to Mr. Deer, that proximate cause could not be established

because no witness knows whether Mr. White’s car collided with Mr. Etile’s car due

to the negligence of Mr. Deer or of Mr. Ippolito. We disagree with Mr. Ippolito that

a jury would have to “draw impermissible inferences” to find Mr. Ippolito negligent.

As we explained above, the evidence establishes that Mr. Deer was still in contact

with Mr. White’s vehicle when Mr. Ippolito rear-ended him.             A reasonable

factfinder could infer that Mr. Ippolito’s rear-end impact into Mr. Deer’s car

provided the force necessary to propel Mr. White’s car into Mr. Etile’s, making

Mr. Ippolito’s negligence a substantial factor in causing Ms. Nixon’s injury.

Accordingly, we reverse the grant of summary judgment as to Mr. Ippolito.
                                        29

                                IV.   Conclusion


      For all of the foregoing reasons, we (1) affirm the grant of summary judgment

in favor of Mr. Etile; and (2) reverse the grants of summary judgment as to

Messrs. Deer and Ippolito and Geico and National General.




                                                   So ordered.
